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             EXHIBIT 58
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                EXHIBIT 11
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November 21, 2023                                                                        Disha R. Patel

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Re: ModernaTX, Inc. et al v. Pfizer Inc. et al, Case No. 1:22-cv-11378-RGS (D. Mass.): Plaintiffs’
    Document Reproduction

Counsel:

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Plaintiffs will reproduce a redacted version of the following documents next week.




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In addition, Plaintiffs are herewith reproducing PowerPoints you identified as having unreadable
elements in color, as referenced in the October 23, 2023 letter from A. Curtis.

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Regards,
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